Case 2:20-cv-02353-JS-ARL Document 21 Filed 08/21/20 Page 1 of 2 PageID #: 203




366 NORTH BROADWAY                                                     445 BROAD HOLLOW ROAD
     SUITE 410                                                                  SUITE 25
JERICHO, NY 11753                                                         MELVILLE, NY 11747

     TELEPHONE                                                                      FACSIMILE
  (888) 572-0861                                                                 (516) 942-4385


August 21, 2020


BY ECF
Judge Sandra J. Feuerstein
100 Federal Plaza
Central Islip, NY 11722

Re: John McQuillin v. Hartford, 20-CV-2353 SJF-ARL (E.D.N.Y.)

Dear Judge Feuerstein:

         I represent the plaintiff, John McQuillin, in the above referenced action. I write in
opposition to Patrick Begos’ letter dated August 21, 2020, which asked the Court to disregard
Plaintiff’s letter dated August 17, 2020, on the grounds that it is a “sur-reply.” Mr. Begos’ letter is
yet another example of his utter disregard and hypocrisy for the rules.

          Plaintiff’s letter dated August 17, 2020, addressed Mr. Begos’ argument that Plaintiff did not
exhaust his administrative remedies due to the EBSA COVID Notice. Plaintiff’s August 17, 2020
letter was not a sur-reply because Plaintiff never had the opportunity to oppose that argument. The
first time that Mr. Begos ever raised the COVID Notice issue was when he sandbagged Plaintiff
with that argument in Hartford’s reply brief. Rather than disregarding Plaintiff’s August 17, 2020
letter, the Court should disregard section IIIB of Hartford’s reply brief that is based on the COVID
Notice.

         Plaintiff’s August 17th letter addressed the fact that Mr. Begos was speaking out of both sides
of his mouth. On the one hand, Mr. Begos wanted the Court to believe that it has been Hartford’s
position since day one that Plaintiff has not exhausted his administrative remedies because the
EBSA COVID Notice “suspended” Hartford’s time to decide Plaintiff’s appeal. On the other hand,
at the initial conference (“IC”), when asked why Hartford had failed to decide Plaintiff’s appeal, Mr.
Begos told the Court that Plaintiff had not exhausted his administrative remedies because of Ms.
Cuspiag’s June 23, 2020 letter - not because of the EBSA COVID Notice.

        Hartford’s COVID Notice argument was a post-hoc response to the Court’s denying the
motion to dismiss. Mr. Begos served Hartford’s motion to dismiss on July 24, 2020. There is
absolutely no reference about the EBSA Notice anywhere in Mr. Begos’ moving brief. If Mr. Begos
had come up with that argument before the IC, then not only he would have included it in his
moving brief, but he also would have asserted it at the IC as the basis for Hartford’s motion not
being deemed denied. Instead, because he only concocted the COVID Notice after the IC, Mr.
Begos relied on the inane argument that the Cusipag letter was the reason why Hartford’s motion to
dismiss should not be deemed denied.
Case 2:20-cv-02353-JS-ARL Document 21 Filed 08/21/20 Page 2 of 2 PageID #: 204


         Mr. Begos knows that it was improper to include the COVID Notice argument in Hartford’s
reply brief, and he knows that the Court will not disregard Plaintiff’s August 17, 2020 letter, or grant
him the opportunity to submit a sur-reply. What Mr. Begos actually wants is to complicate this
matter in order to manipulate the Court into remanding this action. Mr. Begos’ tactics are all an
attempt to divert the Court’s attention from the fact that this is a simple case. Plaintiff had prostate
cancer, and the surgical treatment resulted in common urological side effects that preclude him from
working at any occupation, let alone his regular occupation as a medical equipment salesperson that
required him to spend 70% of his time in the operating room. Thus, Plaintiff asks the Court to
reject the letter Mr. Begos’ filed earlier today, (Document 20).



                                                        Respectfully submitted,
                                                        LAW OFFICES OF JEFFREY DELOTT


                                                By:     __________________________
                                                        Jeffrey Delott, Esq.




                             Email: jd@iwantmydisability.com
                             Web Site: iwantmydisability.com
                              Blog: disabilitylawyerblog.com
                                                                                                      2
